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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ASHLEY PIERRELOUIS, Individually
and On Behalf of All Others Similarly
Situated,
                                            Case No. 18-cv-04473
             Plaintiff,
                                            Hon. Jorge L. Alonso
             v.

GOGO INC., MICHAEL J. SMALL,
NORMAN SMAGLEY, BARRY
ROWAN, and JOHN WADE,
             Defendants.


          REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
        DEFENDANTS’ MOTION TO DISMISS THE AMENDED COMPLAINT



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    https://runwaygirlnetwork.com/2018/02/27/ delta-deepens-involvement-in-
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                                    PRELIMINARY STATEMENT1

          In their Amended Complaint, plaintiffs admit that the alleged misstatements made from

February 27, 2017 through December 6, 2017—in other words, all of the alleged misstatements

except the statements made on February 22, 2018—were made before Gogo received the first

complaints that its 2Ku system was not working. As for the February 22, 2018 statements,

plaintiffs’ only gripe is that defendants did not disclose as much as they later disclosed about the

2Ku problems at the end of the alleged class period on May 4, 2018. But plaintiffs plead no

contemporaneous facts suggesting that defendants knew on February 22, 2018 that the problem

was as bad as disclosed later on May 4, 2018. The Court should therefore dismiss the case.

          Plaintiffs attempt to avoid dismissal by relying on two internet articles from January 22

and February 27, 2018, which plaintiffs claim corroborate the allegations of their Amended

Complaint. Putting aside whether plaintiffs can properly supplement the allegations of their

pleading in this way—and they cannot—the articles do nothing to save plaintiffs’ claims. The

January 22, 2018 article reports on the author’s experience testing 2Ku on Delta flights from

Washington, DC to Detroit and back on December 11, 2017, with problem-free connectivity on

the outbound flight but a system outage caused by de-icing fluid penetrating to the antenna on

the return flight. The February 27, 2018 article discusses an internal Delta memorandum

reporting on 2Ku outages “in recent months” but without any specific dates. Neither of these

articles provides what is missing from the Amended Complaint, and what the federal securities

laws require: specific facts showing that Gogo received the first reports of significant 2Ku

outages before December 6, 2017 (the date of the last alleged misstatement before Gogo first

disclosed the 2Ku problems on February 22, 2018). In fact, the January article states that it


1
    Capitalized terms have the meanings set forth in defendants’ opening brief (Dkt. No. 64).
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describes an outage that took place five days after the December 6 statement, on December 11,

2017. The articles also fail to establish that on February 22, 2018, defendants knew the problems

were worse than disclosed that day. The Court should accordingly dismiss plaintiffs’ claims.

                                            ARGUMENT

I.      PLAINTIFFS FAIL TO PLEAD THAT ANY STATEMENT WAS FALSE WHEN MADE

        Conceding that their Amended Complaint fails to meet the particularity requirements of

the PSLRA and Rule 9(b), plaintiffs attempt to bolster their flimsy allegations with reference to

two internet articles—one dated January 22, 2018 and another dated February 27, 2018.2 Neither

article is referred to in the complaint, and therefore neither is properly before the Court on this

motion. See Kennedy v. Venrock Assocs., 348 F.3d 584, 592-93 (7th Cir. 2003) (plaintiffs cannot

“defend against dismissal [of fraud claims] by alleging in their brief facts consistent with but not

contained in the complaint . . . because a charge of fraud must be pleaded with particularity”).

“[I]t is axiomatic that the complaint may not be amended by the briefs in opposition to a motion

to dismiss.” Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1107 (7th Cir. 1984).

        Even if the Court were to consider these articles in deciding this motion, they say nothing

about 2Ku problems before December 11, 2017. The articles fail to show that defendants’

challenged statements were false when made.

        A.      Plaintiffs Fail To Plead Facts Showing That Defendants’ Pre-November 2017
                Statements Were False When Made

         As shown in our opening brief, the allegations of the Amended Complaint undermine

plaintiffs’ claim that defendants’ statements in February, May, June and August 2017 were false


2
 See Jonathan M. Gitlin, An end to in-flight Wi-Fi misery is at hand with Gogo’s 2Ku, Ars Technica (Jan.
22, 2018), https://arstechnica.com/cars/2018/01/an-end-to-in-flight-wi-fi-misery-is-at-hand-with-gogos-
2ku/; Jason Rabinowitz, Delta deepens involvement in 2Ku MRO in face of reliability issues, Runway Girl
Network (Feb. 27, 2018), https://runwaygirlnetwork.com/2018/02/27/delta-deepens-involvement-in-2ku-
mro-in-face-of-wi-fi-reliability-issues/.



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when made (AC ¶¶ 73-97). Rather than acknowledge their express allegation that “Delta Air

Lines was first to notify Gogo that the 2Ku systems were not working” and “[t]his occurred as

early as November or December 2017” (id. ¶ 56) (emphasis added), plaintiffs attempt to evade

their pleading by conjecturing that “Defendants were undoubtedly aware of 2Ku system

degradation earlier than November 2017.” Opp. at 14 (emphasis added). The Opposition asks

the Court to credit this speculative conjecture because (1) “at least 94-130 aircraft had operated

in a previous winter” without the de-icing modification discussed in a January 9, 2019 press

release and therefore must have experienced de-icing problems,3 and (2) when defendants

warned in August 2017 of a dilution to average-revenue-per-aircraft (“ARPA”) “beginning in the

back half of 2017 by the new aircraft coming online,” they really meant that newly installed 2Ku

systems “were bringing down ARPA” because they did not have the “radome fixes” that were

already installed on seasoned planes. Opp. at 14-15. Each of these inferences is both

unsupported and inconsistent with the Amended Complaint’s allegations.

        First, the Complaint contains no basis on which to infer that defendants were aware of

2Ku outages in the previous winter (2016-17) or, even if they knew about outages, that they

knew as early as winter 2016-17 that the outages were caused by de-icing or a design defect and

were not just one-off occurrences. The allegation that Delta “was first to notify Gogo that the

2Ku systems were not working” and did so “as early as November or December 2017” (AC ¶ 56)

shows just the opposite—i.e., that defendants were not aware that 2Ku had a problem with a


3
  Contrary to plaintiffs’ assertion that “Defendants’ suggestion to the contrary is illogical” (Opp. at 14),
defendants have not suggested the contrary and need not do so to prevail on this motion. Rather, to
survive a motion to dismiss, plaintiffs must plead sufficient facts to show why defendants’ challenged
statements were false when made. See Pension Tr. Fund for Operating Eng’rs v. DeVry Educ. Grp., Inc.,
2017 WL 6039926, at *6 (N.D. Ill. Dec. 6, 2017) (quoting 15 U.S.C. § 78u-4). All defendants need show
is that plaintiffs have not pleaded specific facts—as opposed to speculation or inferences—demonstrating
that defendants’ statements were false when made.



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recurring cause until Delta raised the issue nearly a year later in “November or December 2017.”

Such self-defeating allegations require dismissal of the complaint. See McCready v. eBay, Inc.,

453 F.3d 882, 888 (7th Cir. 2006) (“[I]f a plaintiff pleads facts which show he has no claim, then

he has pled himself out of court.”) (citation omitted); Hussain v. Fed. Express Corp., 2013 WL

3337814, at *2 (N.D. Ill. July 2, 2013) (same).

       Second, the Amended Complaint alleges no facts to support the inference that in August

2017 “seasoned planes that had the radome fix had increased ARPA, but newly installed 2Kus

without radome fixes were bringing down ARPA” (Opp. at 15). As defendants told investors

repeatedly, when the service is first installed on new aircraft, those aircraft are expected to

generate lower revenue because it takes time to acquaint customers with the new service. See,

e.g., Polovoy Decl., Ex. F (Q4 2016 Earnings Call Tr.) at 11 (“it just takes a while when you are

launching a new fleet to get the revenue growing. . . . ARPA growth . . . starts at a low number

when you launch a new fleet”); id., Ex. K (Edited Transcript Gogo Inc. at UBS Global Media

and Communications Conference, Dec. 6, 2017) at 4 (“when you bring on a new airline[ ], they –

before you get to full fleet or nearly full fleet deployment, you tend to see lower ARPA and it

takes a couple of years for those aircraft to season”). Furthermore, plaintiffs’ argument is

contrary to their complaint, which alleges that Gogo “first attempted to resolve the problem by

changing the antennas and installing a part known as a ‘deflector’” in response to Delta’s

complaints in November or December 2017, but the “deflectors did not fix the problem” (AC

¶ 57). The increased ARPA from seasoned planes in August 2017 could not have resulted from a

radome fix because plaintiffs claim that the initial fix was unsuccessful (id.) and that the later

successful fix was not introduced until December 2018 (Opp. at 12 n.13). The plaintiffs cannot

have it both ways. If the fix that prevented system degradation was only introduced in December




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2018, it could not have been the reason for the difference in ARPA anticipated by defendants in

August 2017. Moreover, the inference plaintiffs urge requires the Court to presume that

defendants were not rational business people. If defendants knew that new aircraft were being

installed with defective antennas and radomes and this was diluting ARPA, but they had fixes

installed on seasoned planes already, surely they would have made the same fixes on the newly

installed planes and thereby avoided any dilution to ARPA.

       Finally, plaintiffs offer no answer to our observation (Opening Br. at 10-11) that the

May 4, 2018 statement by Gogo CEO Oakleigh Thorne (whom plaintiffs portray as a truth-teller

(Opp. at 6-7)) undermines plaintiffs’ inference that defendants knew about the 2Ku problems in

February 2017 or any time before “winter” 2017-18, when system availability “plunged down to

the mid 80s.” AC ¶ 62. Thorne’s statement that summer 2017 “was our most successful product

launch ever with greater than 98% service availability” (id.) directly contradicts plaintiffs’

assertions that defendants’ statements in February, May, June and August 2017 were false.

Plaintiffs thus have no factual basis to support their claims based on those statements.

       B.      Plaintiffs Fail To Plead Facts Showing That Defendants’ Statements In
               November And December 2017 Were False When Made

        Instead of acknowledging or addressing their Amended Complaint’s fatal failure to

identify when in “November or December 2017” Delta notified Gogo that 2Ku systems were not

working, plaintiffs attempt to bolster those vague allegations with what they claim is

corroborating information from the two internet articles introduced in their opposition brief

(Opp. at 12 & n. 12). As discussed above, plaintiffs cannot supplement their deficient pleading

in this way. See Kennedy, 348 F.3d at 592-93; Car Carriers, 745 F.2d at 1107. But even if they

could, neither article says that Delta reported 2Ku problems to Gogo before defendants’

challenged statements on November 2, November 17 and December 6, 2017. In fact, the Ars



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Technica article reports about a single outage on the return flight of the author’s round-trip travel

on Delta from Washington, DC to Detroit on December 11, 2017—several days after the last of

those statements was made.4 Nothing in that article suggests that Delta notified Gogo of

recurring problems caused by de-icing at the time of that flight or indeed at any time before or

after. The February 27, 2018 Runway Girl article quotes a February 24, 2018 internal memo

supposedly prepared by a Delta cabin maintenance employee and circulated to Delta flight

attendants discussing problems experienced with 2Ku on “some” Delta flights “in recent

months.”5 Like the Ars Technica article, the Runway Girl article contains nothing to suggest that

these problems were reported to Gogo before December 6, 2017.6

          Plaintiffs also continue to mistakenly rely on Thorne’s May 4, 2018 statement as support

for their assertion that defendants’ November 2, 2017 and December 6, 2017 statements were

false when made. Opp. at 9-10. But, as shown in our opening brief and above, all Thorne said

was that when winter came, “availability plunged to the mid 80s.”7 AC ¶ 62; Opening Br. at 10-

11. Thorne’s statement thus provides no basis to infer that the 2Ku availability rate had already

“plunged” before December 6, 2017.

          In short, plaintiffs’ contention that the Court must credit their unsupported allegation that

4
 See Gitlin, supra n.2, caption to first embedded screenshot (“Testing Gogo Air’s 2Ku service on Delta
1731, DCA to DTW, December 11th 2017.”).
5
    Rabinowitz, supra n.2.
6
  Plaintiffs’ belated reliance on articles that describe one outage on December 11, 2017 and a February
24, 2018 internal Delta memo discussing 2Ku problems “in recent months” suggests that plaintiffs
consciously decided not to identify the articles in the Amended Complaint because the articles do not
identify a specific date before December 11, 2017 when Delta first reported significant problems with
2Ku to Gogo. The articles further suggest that plaintiffs’ “November or December 2017” allegation was
a guess extrapolated from the February 24, 2018 Delta memo’s talk of issues “in recent months.” The
particularity requirements of the PSLRA and Rule 9(b) cannot be satisfied in this way.
7
 Plaintiffs repeatedly misquote Thorne’s statement. He did not say that system availability went down to
“about 80%.” Opp. at 10, 22. He said it dropped to the “mid 80’s.” AC ¶ 62. And he said that the drop
occurred in “winter,” not before. Id.



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“Delta informed Gogo of 2Ku’s de-icing issues in November 2017” because it is “corroborated

by publicly available information that Delta had complained about 2Ku’s performance in ‘recent

months’ (preceding February 2018)” (Opp. at 12) is unfounded. Even the Amended Complaint

expresses uncertainty about when Delta first reported the issues, and says “[t]his occurred as

early as November or December 2017.” AC ¶ 56 (emphasis added). And, as shown above,

nothing in the articles or in Thorne’s later statements corroborates with the specificity required

by the PSLRA that this in fact occurred in November rather than December, or even prior to the

defendants’ December 6, 2017 statements. See Zerger v. Midway Games, Inc., 2009 WL

3380653, at *7 (N.D. Ill. Oct. 19, 2009) (rejecting “chronological[ly] confus[ed]” allegation that

decision made in October 2015 rendered August 2015 statement false when made).

       Finally, Seventh Circuit law is contrary to plaintiffs’ assertion that they need not identify

any “other sources” on which they relied because the allegations about complaints from Delta are

purportedly corroborated by published articles (which were not even mentioned in the Amended

Complaint) (Opp. at 11 & n. 12). In affirming a district court’s refusal to give any weight to

allegations that “internal emails” showed defendants knew their statements were false when

made where the complaint merely implied that the allegation came from an unnamed

confidential source, the Seventh Circuit explained: “Allegations . . . merely implying[ ]unnamed

confidential sources of damaging information require a heavy discount. The sources may be ill-

informed, may be acting from spite rather than knowledge, may be misrepresented, may even be

nonexistent—a gimmick for obtaining discovery costly to the defendants and maybe forcing

settlement or inducing more favorable settlement terms.” City of Livonia Emps.’ Ret. Sys. &

Local 295/Local 851 v. Boeing Co., 711 F.3d 754, 759 (7th Cir. 2013). Because plaintiffs have

not alleged facts showing that defendants’ statements in November and December 2017 were




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false when made, the claims based on those statements fail to plead falsity. 8

        C.       Plaintiffs Fail To Plead Facts Showing That Defendants’ February 22, 2018
                 Statements Were False When Made

         As shown in our opening brief, the Amended Complaint alleges no factual basis on

which to infer that defendants withheld any material information about 2Ku problems that was

known to them as of February 22, 2018. Opening Br. at 14-16. Gogo’s disclosure ten weeks

later, on May 4, 2018, that the 2Ku problems were worse than Gogo originally thought, stemmed

from different causes, and were likely to have a greater impact on Gogo’s financial performance

does not support the inference that the February 22, 2018 statements were false when made. See

Garden City Emps.’ Ret. Sys. v. Anixter Int’l, Inc., 2012 WL 1068761, at *4 (N.D. Ill. Mar. 29,

2012) (“statements made at or after the end of the class period cannot be used to show that what

was said earlier was false or misleading”) (quoting Sutton v. Bernard, 2001 WL 897593, at *4

(N.D. Ill. Aug. 9, 2001)).

        Plaintiffs’ sole argument in response is that the Runway Girl article shows that Delta did

not believe that there was an “easy” fix for the de-icing problem and assigned its own TechOps

team to work alongside Gogo to fix the 2Ku problems Delta was experiencing. Opp. at 13. As

shown above, however, the Runway Girl article cannot supplement the vague and speculative

allegations of plaintiffs’ complaint. In any event, plaintiffs cannot claim that they were misled

because defendants “did not accurately portray the severity of the issue or disclose the financial

toll the problems were exacting on Gogo” (Opp. at 13), but, at the same time, the “true” state of
8
  This Court’s decision in DeVry, on which plaintiffs rely (Opp. at 12), is not to the contrary. In DeVry,
this Court acknowledged that whether the plaintiff identified internal information that contradicted the
defendants’ statement was “a close question,” but found that the plaintiff had “an articulable reason . . . to
suspect that the information showing the falsity of the 90% Statement exists in readily available form”
based on allegations in a complaint and Rule 26(f) disclosures in a case brought by the FTC after
obtaining the defendant’s internal documents by means of a Civil Investigative Demand. 2017 WL
6039926, at *8. By contrast, plaintiffs here have not come forward with any reliable basis on which to
believe that any internal documents would substantiate their claims.



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affairs at the time is apparent from the articles “documented on the internet” in January and

February 2018 (Opp. at 11, 13). See Chu v. Sabratek Corp., 100 F. Supp. 2d 827, 834 (N.D. Ill.

2000) (“A plaintiff cannot credibly claim to be misled by a company’s attempt to hide negative

information when that same information is publicly available via alternate channels.”) (citing

Eckstein v. Balcor Film Investors, 58 F.3d 11362, 1169 (7th Cir. 1995)). Either plaintiffs were

misled, or the information was public knowledge. Plaintiffs cannot have it both ways.

II.       DEFENDANTS’ FORWARD-LOOKING STATEMENTS ARE NOT
          ACTIONABLE UNDER THE PSLRA SAFE HARBOR

          In our opening brief, we showed that particular statements of future expectations made by

Smagley on February 27, 2017, Rowan on August 7, November 2 and 17, and December 6,

2017, and Small on February 22, 2018 (AC ¶¶ 76, 94, 102, 110, 118, 126) are not actionable

because they are protected by the PSLRA’s statutory safe harbor for forward-looking statements.

Opening Br. at 16-20. Plaintiffs seek to evade application of the safe harbor to those particular

statements by arguing that (1) the safe harbor does not apply to forward-looking statements that

are alleged to be false “due to the omission of material information,” (2) whether Gogo’s

cautionary statements were meaningful cannot be decided on a motion to dismiss without the

benefit of discovery, and (3) “statements made with actual knowledge of their falsity are not

protected by the safe harbor.” Opp. at 15-20. None of these arguments succeeds.

          First, plaintiffs do not cite a single appellate level case, from the Seventh Circuit or any

other circuit, supporting their contention that the safe harbor can never apply to any forward-

looking statement alleged to be misleading because of a material omission. Nor is that

surprising. The plain language of the statute expressly provides that the safe harbor applies in

any private action under Section 10(b) “that is based on an untrue statement of a material fact or

omission of a material fact necessary to make the statement not misleading . . . .” 15 U.S.C.



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§ 78u-5(c)(1) (emphasis added); see also In re Supreme Indus., Inc. Sec. Litig., 2019 WL

1436022, at *7 (N.D. Ind. Mar. 29, 2019) (“[T]here is no question under the statute that a

material and misleading omission can fall within the forward-looking safe harbor.”) (quoting

Harris v. Ivax Corp., 182 F.3d 799, 806 (11th Cir. 1999)).

       Second, plaintiffs’ assertion that a court cannot decide whether cautionary language is

sufficiently meaningful to qualify for the safe harbor’s protection on a motion to dismiss is also

contrary to the express language of the statute, which provides that “[o]n any motion to dismiss

based upon subsection (c)(1) [the safe harbor for forward-looking statements], the court shall

consider any statement cited in the complaint and any cautionary statement accompanying the

forward-looking statement.” 15 U.S.C. § 78u-5(e); see also Johnson v. Tellabs, Inc., 262 F.

Supp. 2d 937, 953 n.15 (N.D. Ill. 2003) (dismissing claims based on forward-looking statements

accompanied by meaningful cautionary language under the PSLRA’s safe harbor). Asher v.

Baxter International Inc., 377 F.3d 727 (7th Cir. 2004), is not to the contrary. In that case, the

Seventh Circuit concluded that on the facts alleged, the court could not determine before

discovery whether Baxter omitted important variables from its cautionary language, which, like

the forecasts at issue, “remained fixed even as the risks changed.” Id. at 734. The same cannot

be said for Gogo’s cautionary language, which was updated in its 2017 10-K, filed on February

22, 2018, when the risks related to 2Ku problems had begun to materialize. See AC ¶ 130 (“We

have encountered delays and quality problems as we deploy 2Ku, which we are in the process of

remediating, and may continue to do so given the aggressive installation schedule that we are

undertaking . . . . If 2Ku fails to perform as expected or we fail to meet the installation timelines

and performance metrics for which we have contracted, our business, financial condition and

results of operations may be materially adversely affected.”). Like the cautionary language in




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numerous other cases in which claims based on forward-looking statements were dismissed

under the safe harbor, Gogo’s cautionary language meaningfully warned about the specific risks

that could cause actual results to depart from the projections made by defendants. See, e.g., In re

Midway Games, Inc. Sec. Litig., 332 F. Supp. 2d 1152, 1167 (N.D. Ill. 2004) (“Numerous

decisions in this district and elsewhere have dismissed Rule 10b-5 claims based on similar—and

often less specific—cautionary language.”); Stavros v. Exelon Corp., 266 F. Supp. 2d 833, 843-

46 (N.D. Ill. 2003) (dismissing claims based on forward-looking statement accompanied by

meaningful cautionary language); Johnson, 262 F. Supp. 2d at 953-54 (same).

       Third, even if Gogo’s cautionary language were found to be insufficient, the safe harbor

still applies to the forward-looking statements at issue in this case because plaintiffs have not

alleged facts supporting any inference—much less the requisite strong inference—that any of the

speakers of those statements—Smagley, Rowan or Small—actually knew at the time they made

their respective statements that their expectations could not be met because of significant

problems with 2Ku. See 15 U.S.C. § 78u-5(c)(1)(B); see also City of Livonia, 711 F.3d at 756

(the PSLRA “altered the landscape of federal securities fraud litigation . . . [by] requir[ing] a

plaintiff who is complaining about ‘forward-looking’ statements—predictions or speculations

about the future—to prove ‘actual knowledge’ of falsity on the part of defendants.”). As shown

in our opening brief and below, plaintiffs have not alleged a single fact to support even a weak

inference that Smagley, Rowan or Small actually knew their statements were false.

III.   PLAINTIFFS FAIL TO PLEAD THAT ANY DEFENDANT ACTED WITH THE
       INTENT TO DEFRAUD

       In our opening brief, we showed that plaintiffs fail to plead facts giving rise to a strong

inference that any of the defendants acted with fraudulent intent—whether actual knowledge, as

required for forward-looking statements, or recklessness, as required for the other challenged



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statements. Opening Br. at 20-28. Instead of responding with well-pleaded facts, which they do

not have, plaintiffs urge the Court to rely on plaintiffs’ own “logic,” and repeatedly state in the

Opposition that their unsupported assertions of scienter are “the most logical inference” and any

competing non-fraudulent inference is “illogical.” See Opp. at 4, 14, 23, 25.

        In support of their “logic”-based rather than fact-based inferences, plaintiffs rely on the

same deficient allegations and premises that they claim support an inference of falsity:

       Defendants must have known about the 2Ku antenna design defect as early as February
        2017 because at least some of the 94-130 planes that operated that winter must have
        experienced the 2Ku system degradation as a result of de-icing;

       Rowan’s statements in August 2017 that new installations of 2Ku were expected to dilute
        ARPA in the second half of 2017 must have meant that newly installed 2Ku systems
        were defective and diluted ARPA because they did not have the antenna and radome
        fixes that seasoned aircraft supposedly had 9;

       Defendants must have known about the 2Ku antenna design defect throughout the alleged
        class period because they received “outage reports” and regularly monitored 2Ku’s
        system availability statistics; and

       On May 4, 2018, Thorne disclosed that 2Ku system reliability dropped to the mid 80s in
        winter 2017-2018.

Opp. at 22-26. These contentions do not provide a basis to infer scienter for the same reasons

that these contentions do not provide a basis to infer falsity: plaintiffs have not alleged actual

facts, as opposed to their own speculative assumptions, and do not suffice to allege that Gogo

and each of the Individual Defendants knew about any design defect or that the company’s



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  As noted above, the inference urged by plaintiffs requires the Court to presume that corporate executives
behave irrationally. The more compelling and plausible inference is that when a new product is
introduced, it takes time to educate consumers about the new product, to get them interested in the
product and to get them to spend money on the product, and that this change in consumer habits and
spending over time is the real reason for the difference in ARPA between new and seasoned aircraft. See,
e.g., Anne Sraders, What Is the Product Life Cycle? Stages and Examples, TheStreet (Mar. 4, 2019),
https://www.thestreet.com/markets/commodities/product-life-cycle-14882534 (describing the
“introduction stage” of a new product when the goals are “to build demand for the product and get it into
the hands of consumers, hoping to later cash in on its growing popularity”).



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financial performance would suffer as a result.10 Plaintiffs thus have alleged no facts to support

a strong inference of fraudulent intent by any of the defendants that is “cogent and at least as

compelling as any opposing [non-fraudulent] inference.” Tellabs, Inc. v. Makor Issues & Rights,

Ltd., 551 U.S. 308, 324 (2007). As the Supreme Court has explained, the scienter inquiry is

“inherently comparative,” requiring the court to assess “[h]ow likely” it is that “one conclusion,

as compared to others, follows from the underlying facts.” Id. at 323 (emphasis added). On the

facts as alleged in the Amended Complaint, the inference that each defendant disclosed the best

available information about 2Ku known to him (or, in Gogo’s case, to the company) at the time

is far more compelling than any opposing inference urged by plaintiffs. 11

         Plaintiffs offer a few additional factors that they contend strengthen the purported

inference of scienter. First, plaintiffs contend that because Delta was Gogo’s largest client and

2Ku was a key product for Gogo, the inference of scienter “is supported by the ‘core operations’

doctrine.” Opp. at 26. But the “core operations” doctrine only supports the inference that

executives knew or were recklessly indifferent to existing facts contradicting a defendant’s

public statements if the plaintiff actually alleges with specificity contradictory facts that were in
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  The Seventh Circuit has rejected the “group pleading doctrine” and requires a strong inference of
scienter for “each individual defendant.” Pugh v. Tribune Co., 521 F.3d 686, 693 (7th Cir. 2008).
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   This is particularly so with respect to Smagley. Plaintiffs do not respond to and therefore concede that
they have not pleaded any factual basis on which to draw even a weak inference of scienter as to
Smagley. Smagley was Gogo’s CFO only until May 4, 2017 (AC ¶ 19), and the only statements
attributed to him were his forward-looking statements on February 27, 2017 about an anticipated decline
in cash needs in 2018 and an increase in consolidated adjusted EBITDA (AC ¶ 76). Rather than plead
facts showing what Smagley actually knew about 2Ku’s performance and reliability at that time, plaintiffs
ask the Court to infer that because winter 2016-17 was ending, “Smagley knew about the 2Ku’s design
defect and that the costs associated with fixing it would increase exponentially the following year.” AC
¶ 77. The Amended Complaint alleges no facts showing that de-icing issues caused any service reliability
problems in winter 2016-17, or that any such problems were caused by a design defect that would be
expensive to fix. In the absence of such facts, the non-fraudulent inference that Smagley simply did not
know in February 2017 that 2Ku was experiencing significant problems caused by a design defect that
would be costly to remedy is far more compelling than the fraudulent inference urged by plaintiffs.




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existence at the time. See Makor Issues & Rights, Ltd. v. Tellabs Inc., 513 F.3d 702, 706-07 (7th

Cir. 2008). Plaintiffs have not done so here; the core operations doctrine thus does not apply.

       Second, plaintiffs contend that the short interval between Small’s departure and the May

4, 2018 announcement also supports and strengthens an inference of scienter. Opp. at 26-27.

Plaintiffs are wrong again. “Absent allegations that the resignation at issue was uncharacteristic

when compared to the defendant’s typical hiring and termination patterns or was accompanied

by suspicious circumstances,” the inference that the employee was forced to resign because of

fraud “will never be as cogent or as compelling as the inference that the employee[ ]resigned or

[was] terminated for unrelated personal or business reasons.” Zucco Partners, LLC v. Digimarc

Corp., 552 F.3d 981, 1002 (9th Cir. 2009).

       Third, plaintiffs contend that the inference of scienter is bolstered by “[d]efendants’

claims that they were highly focused on monitoring the costs and status of 2Ku systems, and

their responses to detailed analyst questions on those topics.” Opp. at 27. But again, plaintiffs

have not alleged actual facts that were apparent to defendants from any such monitoring but not

disclosed. See Cornielson v. Infinium Capital Mgm’t, LLC, 916 F.3d 589, 602 (7th Cir. 2019)

(“[A] complaint fails to satisfy the PSLRA’s particularity requirements by making conclusory

allegations of scienter derived from a defendant’s mere access to information.”).

       Fourth, plaintiffs concede that they have not alleged any motive to commit fraud for any

defendant and cite Supreme Court and Seventh Circuit decisions in Tellabs holding that the

absence of motive was “not fatal” to the securities fraud claim in that case. Opp. at 28. But the

Supreme Court also explained in Tellabs that “the significance that can be ascribed to an

allegation of motive, or lack thereof, depends on the entirety of the complaint.” 551 U.S. at 325.

The Seventh Circuit has also noted that “[w]ithout a motive to commit securities fraud,




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businessmen are unlikely to commit it.” City of Livonia, 711 F.3d at 758. Thus, the inference of

fraud is much weaker in the absence of motive allegations, and requires plaintiffs to plead other

facts to support a strong inference of scienter. As shown above, plaintiffs have not done so here.

         Moreover, plaintiffs do not deny that a defendant’s significant stock purchase during the

alleged class period can negate an inference of scienter. See Opening Br. at 26-27. Gogo’s then-

CEO Michael Small bought nearly $900,000 of Gogo stock on November 6, 2017 at a time when

plaintiffs allege the stock price was inflated. Plaintiffs contend he did so to prop up the

company’s stock price so that Gogo could obtain debt financing and he could keep his job. But

the idea that Small would throw away his own money to buy stock at what he knew was an

inflated price is neither cogent nor compelling. Further, courts regularly refuse to infer scienter

from generalized motives common to all executives, such as the desire to keep one’s job or to

obtain corporate financing. See, e.g., Pension Tr. Fund for Operating Eng’rs v. Kohl’s Corp.,

895 F.3d 933, 939-40 (7th Cir. 2018); Plumbers & Pipefitters Local Union 719 Pension Fund v.

Zimmer Holdings, Inc., 679 F.3d 952, 956 (7th Cir. 2012). This Court should do the same. 12

                                            CONCLUSION

         For the foregoing reasons, the Court should dismiss the Amended Complaint with

prejudice.

Dated: May 9, 2019                                        Respectfully submitted,

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  For the reasons discussed above and in our opening brief, plaintiffs’ failure to plead a primary violation
of Section 10(b) requires dismissal of their Section 20(a) claim as well.



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                                  CERTIFICATE OF SERVICE


       The undersigned certifies that he caused a copy of Defendants’ Reply Memorandum of Law

in Further Support of Defendants’ Motion to Dismiss the Amended Complaint to be electronically

filed using the CM/ECF system, which will send notice of this electronic filing to all counsel of

record receiving electronic notification on May 9, 2019.


                                                        /s/      Andrew G. May
